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COURT OF APPEALS

SECOND
DISTRICT OF TEXAS

FORT WORTH

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NO. 02-10-00049-CV 

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  Jim Shaw, Defendant-Surety
  
  
  &nbsp;
  
  
  APPELLANT
  &nbsp;
  
 
 
  
  V.
  &nbsp;
  
 
 
  
  The State of Texas
  
  
  &nbsp;
  
  
  APPELLEE 
  
 


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FROM THE
297th District Court OF Tarrant
COUNTY

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MEMORANDUM OPINION[1]
AND JUDGMENT

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On July
9, 2010, we notified appellant that his brief had not been filed as required by
Texas Rule of Appellate Procedure 38.6(a).&nbsp;
See Tex. R. App. P. 38.6(a).&nbsp;
We stated we could dismiss the appeal for want of prosecution unless
appellant or any party desiring to continue this appeal filed with the court
within ten days a response reasonably explaining the failure to timely file a
brief.&nbsp; See Tex. R. App. P. 42.3(b).&nbsp; We have not received any response.

Because
appellant's
brief has not been filed, we dismiss the appeal for want of prosecution.&nbsp; See Tex. R. App. P. 38.8(a), 42.3(b),
(c), 43.2(f).

Appellant
shall pay all costs of this appeal, for which let execution issue.

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PER CURIAM

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PANEL:&nbsp;
DAUPHINOT, GARDNER, and WALKER, JJ.&nbsp; 

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DELIVERED: &nbsp;August 5, 2010 








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[1]See Tex. R. App. P. 47.4.







